Case 22-50570-sms    Doc 13    Filed 04/06/22 Entered 04/06/22 09:35:18         Desc Main
                               Document     Page 1 of 9
  BOBBY DAMON INGRAM



                 NORTHERN DISTRICT OF GEORGIA
   22-50570




              SunTrust Bank now Truist Bank



                                                     72,821.69

                                                     71,294.72

                1,614.07           50


                                         6.75

                                         6.75




                                         2020 Cadillac Escalade ESV , VIN 1GYS4KKJ0LR134323

                                          N/A




                                              8290                                      8290


                                              8273                                     8273

                                                 0                                        0

                                                17                                       17
Case 22-50570-sms           Doc 13   Filed 04/06/22 Entered 04/06/22 09:35:18    Desc Main
                                     Document     Page 2 of 9
  BOBBY DAMON INGRAM                                                  22-50570




              X



              X




              X




              X

                        X




                                                                             4/6/2022


                      Melaney Cremony; Truist Creditor




                  x
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                                                           X




                                NORTHERN DISTRICT OF GEORGIA

BOBBY DAMON INGRAM                                                              22-50570

                                                                                7




                                Suntrust now Truist Bank




                                                               Auto



                              71,294.72



                                                                      1/28/22




                                                                      6.75
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                              Document     Page 4 of 9




        1,614.07               50                           3/21/22




                                    2020 Cadillac Escalade ESV , VIN 1GYS4KKJ0LR134323
                                       N/A




                                                                      117,213.04




                             72,821.69                     71,294.72
                             6.75                          6.75
                             1,614.07                      1,614.07




           X



                      X
Case 22-50570-sms   Doc 13   Filed 04/06/22 Entered 04/06/22 09:35:18   Desc Main
                             Document     Page 5 of 9




                                                                8290


                                                                6675

                                                               1615

                                                                1615




X




X
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Feb 10 2022




  SunTrust Bank now Truist Bank       P.O. Box 85092, 306-40-06-10, Richmond, VA 23286


  Melaney Cremony                                                       4/06/2022




Feb 08 2022

                                            Christopher J. Sleeper
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                             Document     Page 9 of 9
